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13                           UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15                                WESTERN DIVISION
16   Viva Naturals, Inc.,                      Case No. 2:20-cv-03107-RGK-AFM
17                Plaintiffs,                  LIEF ORGANICS, LLC
                                               MEMORANDUM OF
18         v.                                  CONTENTIONS OF FACT AND
                                               LAW
19   Lief Organics, LLC,
20                Defendant.                   First Amended
                                               Complaint Filed: June 17, 2020
21
                                               District Judge: Hon. R. Gary Klausner
22                                             Courtroom: 850, 8th Floor
23                                             Magistrate
                                               Judge:        Hon. Alexander F.
24                                                           MacKinnon
                                               Courtroom:    #780, 7th Floor
25
                                               Trial Date:   August 24, 2021
26
27   And Related Counterclaims
                                       Case No. 2:20-cv-03107-RGK-AFM
28
                                                2:20-cv-03107-RGK-AFM
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                                 LAW
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 1          Pursuant to Local Rule 16-4, Defendant/Counter-claimant Lief Organics, LLC
 2   (“Lief”) respectfully submits the following Memorandum of Contentions of Fact and
 3   Law.
 4          I.    FACTS
 5          Viva Naturals, Inc. (“Viva”) develops and sells dietary supplement products.
 6   (See Counterclaim, Dkt. No. 23 at ⁋ 7 and Dkt. No. 42-10, Lief’s Statement of
 7   Genuine Disputes of Material Fact (“SGD”).)1 Lief is a full-service manufacturer of
 8   dietary supplements. (Counterclaim, Dkt. No. 23 at ⁋ 6 and SGD.) In 2017, the
 9   parties entered into a relationship by which Lief would manufacture products for
10   Viva including the product at issue, which was a multi-source collagen powder
11   product (the “Product”). (First Amended Complaint, Dkt. No. 9 at ⁋ 14.) In the
12   course of their relationship, Viva sent raw ingredients purchased from a third-party,
13   packaging labels, and other materials directly to Lief to utilize in manufacturing
14   products for Viva. (Counterclaim, Dkt. No. 23 at ⁋ 9 and SGD.)
15          Lief contends that it followed all Current Good Manufacturing Practices and
16   manufactured all products for Viva in accord with any relationship or agreement that
17   may have existed. (SGD Nos. 5, 9; Lief’s Counterclaim, Dkt. No. 23 at ⁋ 18.) Viva
18   never supplied nor identified any product specification or contractual obligation
19   requiring Lief to use granule chicken collagen instead of powder chicken collagen as
20   Viva has asserted. In fact, Viva is the party that independently purchased the powder
21   and granule chicken collagen products through a Chinese supplier, Hainan Semnl
22   Biotechnology Co., Ltd. (“Smnl Biotechnology”), both of which Viva had shipped
23   directly to Lief. (Dkt. No. 23-1.) The raw ingredient specification for chicken
24   collagen from Viva’s chosen supplier expressly allowed for the use of both the
25   powder and granule form of chicken type II collagen to be used in the manufacture of
26   Viva’s collagen-containing products. Id. at 9. Therefore, Lief satisfied all regulatory
27
     1
      Viva has moved for summary judgment in this matter (Dkt. No. 41), which Lief has
28   opposed (Dkt. No. 42).
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 1   best practices and satisfied any obligations owed to Viva to manufacture a finished
 2   good. As such, Viva is not owed the $74,445 in damages it seeks.
 3         Lief further contends that Viva has not and cannot prove that Lief owed any
 4   duty to manage inventory in the manner Viva asserts.             The portion of the raw
 5   ingredient inventory—for which Viva seeks $31,677 in damages—is housed in a
 6   non-Lief facility, to which Viva has had access without any interference by Lief.
 7   Lief has never denied access to Viva for it to reclaim its unused raw ingredient
 8   inventory.    (SGD Nos. 12-14.)        Moreover, Viva seeks additional damages of
 9   approximately $200,000 related to other raw ingredients it made Lief store until its
10   recent expiration. Here again, Viva never attempted to reclaim or take possession of
11   the inventory at issue. See id. In addition, to the extent that any raw material
12   inventory is now unusable, this is only a result of Viva’s filing of this lawsuit and its
13   refusal to take possession of the inventory at issue that it purchased and forced Lief to
14   hold. See id. The inventory at issue was saleable at the outset of this litigation, and
15   to the extent that they it is no longer saleable, this is solely a result of Viva’s actions,
16   inactions, and failure to mitigate damages.
17         A.     Lief’s Counterclaims
18         Lief has counterclaimed against Viva for breach of contract and account stated.
19   Lief claims that Viva breached any agreement that existed between the parties by
20   failing to pay for services rendered and products manufactured, including finished
21   product and storage fees. (Dkt. No. 23 at 6-7.) Lief made finished products for Viva.
22   Id. Viva never supplied a product specification to Lief that would require the use of
23   powder versus chicken collagen. Id. The product that Viva had shipped to Lief
24   through Viva’s preferred supplier contained both powder and granule chicken
25   collagen. Id. None of Viva’s requests for the manufacturing of goods specified the
26   form of chicken collagen that was to be used. Id. In fact, documentation supplied by
27   Viva shows that powder and granule chicken collagen were interchangeable and
28   chemically indistinct. See, Dkt. No. 23-1 at 8-9. Further, a “New Product Request
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 1   for Quote” that Viva provided states only that “Grade A chicken collagen” be used as
 2   the ingredient and is silent to any powder or granule requirement.              (Lief’s
 3   Counterclaim, Dkt. No. 23 at ⁋ 17.)       As such, the finished products that Lief
 4   manufactured for Viva were made in accordance with any contractual obligations that
 5   Lief owed to Viva. Id at ⁋ 18. Viva has not paid Lief for the manufacturing of those
 6   products and owes Lief approximately $12,850 in damages not including other
 7   additional unpaid invoice amounts. (SGD Nos. 5, 9; Lief’s Counterclaim, Dkt. No.
 8   23 at ⁋ 18.) Lief is also entitled to storage fees of at least $50,400 for the costs
 9   (which have continued to accumulate during the pendency of this litigation) of
10   storing Viva’s finished product and unused raw ingredient inventory that Viva
11   purchased, had shipped to Lief and intentionally refused to retake possession of
12   because of this dispute. (Lief’s Counterclaim, Dkt. No. 23 at ⁋ 20.)
13         In addition, Viva never objected to any invoices issued by Lief and accepted all
14   invoices issued by Lief. Id. at 8. By accepting and not objecting to these invoices,
15   Viva agreed the amount stated was the correct amount owed to Lief for the services
16   rendered. Id. Viva owes Lief damages for the account stated.
17         II.    THE PARTIES’ CLAIMS AND DEFENSES
18         A.     Viva’s Claims
19         Claim 1: Breach of Contract
20         Elements: Viva has the burden of proving: (1) Viva and Lief had a valid
21   contract; (2) Viva performed its obligations under the contract; (3) Lief’s breach; and
22   (4) Viva suffered damage as a result.
23         Source: Reichert v. Gen. Ins. Co. of Am., 68 Cal. 2d 822, 830 (1968).
24         Claim 2: Breach of Warranty
25         Elements: Viva has the burden of proving: (1) Lief warranted to Viva that the
26   Products would be of merchantable quality; (2) Viva relied on this warranty; and (3)
27   Lief’s breach of its warranty caused proximal damages to Viva.
28         Source: California Commercial Code § 2313(1)(a).
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 1         Count 3: Negligence
 2         Elements: Viva has the burden of proving: (1) A legal duty of care was owed
 3   by Lief to Viva; (2) Lief breached their duty of care; (3) Viva suffered injury caused
 4   by Lief’s breach of their duty; and (4) damages were suffered by Viva.
 5         Source: Coleman v. Medtronic, Inc., 223 Cal.App.4th 413 (Cal. Ct. App. 2014).
 6         B.     Lief’s Defenses & Counterclaims
 7                a.    Lief’s Defenses
 8         Lief denies all of Viva’s claims and Viva cannot meet the requirements for
 9   breach of contract, breach of merchantability, or negligence.          Lief denies any
10   wrongdoing in its manufacturing of products for Viva. Specifically, Lief denies that
11   it failed to adhere to any product specification because Viva never provided any
12   product specification that Lief was to satisfy. Also, the raw material specification
13   Viva supplied indicated that powder and granule products were interchangeable and
14   chemically indistinct. Thus, Viva cannot prove any facts that would show that Lief
15   did not adhere to a specification and Viva cannot prove any of its claims, as a result.
16         Moreover, Viva cannot establish any facts related to any claims of adulteration
17   under the Food, Drug and Cosmetic Act or other Food and Drug Administration
18   (“FDA”) regulation as stated in their complaint. (First Amended Complaint, Dkt. No.
19   9 at ⁋ 14.) Viva cannot assert such claims because the FDA has exclusive jurisdiction
20   over the enforcement of the provisions of the Food, Drug and Cosmetic Act. Viva
21   also cannot prove any facts or claims related to product adulteration because it has
22   neither provided any evidence showing adulteration from a credible expert or source,
23   nor has it provided any contract that obligated Lief to adhere to any quality control
24   obligations that form the basis of its claims. Consequently, Viva cannot establish any
25   facts showing that any products Lief manufactured were adulterated or that Lief
26   failed to adhere to any Current Good Manufacturing Practices. Thus, Viva cannot
27   establish any facts that show that the product at issue was unsaleable due to any
28
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 1   breach or negligence by Lief and cannot prove any liability establishing the damages
 2   Viva seeks.
 3         For these reasons, and others to be elucidated during trial testimony, Viva
 4   cannot prove that Lief acted in way that constitutes breach of contract, breach of
 5   merchantability, or negligence.
 6                 b.    Lief’s Affirmative Defenses
 7                        i.    Failure to Mitigate
 8         Elements: “A plaintiff who suffers damage as a result of either a breach of
 9   contract or a tort has a duty to take reasonable steps to mitigate those damages and
10   will not be able to recover for any losses which could have been thus avoided.”
11   Thus, Lief must prove that it took reasonable steps to mitigate its damages.
12         Source: Shaffer v. Debbas, 17 Cal. App. 4th 33, 41, 21 Cal. Rptr. 2d 110, 114
13   (1993), as modified (July 13, 1993).
14         Summary & Evidence: Viva failed to take any action that would mitigate
15   damages. Once the parties discovered that powder chicken collagen may have been
16   used in place of granule chicken collagen, Viva made no effort to resolve the
17   situation, but simply claimed that the relevant products and raw ingredients were
18   unsaleable. However, in all likelihood, the allegedly adulterated unflavored product
19   at issue could have been reformulated (or simply had chocolate powder added to it)
20   or properly categorized to be saleable or used in saleable finished products—a
21   solution that would have obviated this litigation longer before it began. Viva also
22   could have aided in the identification and classification of the powder and granule
23   products that Viva purchased and had delivered to Lief, which could have been used
24   for unflavored and chocolate-flavored products as desired. As a result of Viva’s
25   failure to mitigate, Viva cannot prove that it is owed the amount of damages it seeks
26   related to manufacturing. Moreover, the majority of Viva’s claim to damages
27   revolves around the cost of unused, raw ingredients which they intentionally left at
28   Lief’s facility, instead of retrieving the materials.
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 1                         ii.    Viva’s Claims are Preempted by Regulation
 2             Elements: The FDA is exclusively tasked with enforcement of violations of the
 3   Food, Drug, and Cosmetic Act.
 4             Source: 21 U.S.C. § 393(b)(2)(A); POM Wonderful LLC v. Coca-Cola Co.,
 5   573 U.S. 102, 109 (2014); Amarin Pharma, Inc. v. Int'l Trade Comm'n, 923 F.3d 959,
 6   968 (Fed. Cir.), cert. denied, 140 S. Ct. 642 (2019).
 7             Summary & Evidence: Viva’s claims are almost entirely premised on
 8   allegations of adulteration under regulations of the Food, Drug, and Cosmetic act or
 9   regulations for which the FDA has exclusive enforcement over. As such, Viva cannot
10   prevail or assert any claims, or bases for such claims, and Viva’s claims must fail as a
11   result.
12                        iii.    Viva’s Negligence Claim is Barred by Economic Loss
13                                Rule
14             Elements: “The economic loss rule generally bars tort claims for contract
15   breaches, thereby limiting contracting parties to contract damages.”
16             Source: United Guar. Mortg. Indem. Co. v. Countrywide Fin. Corp., 660
17   F.Supp.2d 1163, 1180 (C.D. Cal. 2009).
18             Summary & Evidence: If a valid agreement is found that supports Viva’s
19   claims for breach of contract, Viva cannot also recover for negligence because
20   Viva would be recovering for a tort claim in addition to the corresponding
21   contractual claim, which is barred by the economic loss rule.
22                   c.    Lief’s Counterclaims
23                         i.     Count I: Breach of Contract
24             Elements: Lief has the burden of proving: (1) Viva and Lief had a valid
25   contract; (2) Lief performed its obligations under the contract; (3) Viva’s breach; and
26   (4) Lief suffered damage as a result.
27             Source: Reichert v. Gen. Ins. Co. of Am., 68 Cal. 2d 822, 830 (1968).
28   ///
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  1           Summary & Evidence: Viva and Lief entered into an agreement whereby Lief
  2   was to manufacture chicken collagen products. Lief manufactured chicken collagen
  3   products in accordance with any agreement that existed between the parties and all
  4   relevant regulatory requirements.     Although Lief met all of its obligations and
  5   manufactured the requested products for Viva, Viva has not paid Lief for the services
  6   rendered. Lief has been harmed in the amount of approximately $12,850 in damages.
  7                      ii.    Count II: Account Stated
  8           Elements: Lief has the burden of proving: (1) previous transactions between
  9   the parties establishing the relationship of debtor and creditor; (2) an agreement
 10   between the parties, express or implied, on the amount due from the debtor to the
 11   creditor; (3) a promise by the debtor, express or implied, to pay the amount due.
 12           Source: Luxul Tech. Inc. v. Nectarlux, LLC, 78 F. Supp. 3d 1156, 1176 (N.D.
 13   Cal. 2015).
 14           Summary & Evidence: Viva and Lief entered into an agreement and had an
 15   ongoing relationship whereby Lief was to store raw ingredients and related materials
 16   that Viva had shipped to Lief for use to manufacture chicken collagen products for
 17   Viva.     Lief manufactured chicken collagen products in accordance with any
 18   agreement that existed between the parties and all relevant regulatory requirements.
 19   Lief has stored the finished products at issue, the raw ingredients at issue, along with
 20   other items such as packaging materials. Viva accepted and did not object to any of
 21   the invoices relevant to these transactions and thereby promised to the pay the stated
 22   amount. In connection with these services, Viva owes Lief storage fees of at least
 23   $50,400 for storing Viva’s inventory and finished product, and other unpaid invoice
 24   amounts, and storage fees that continue to accumulate.
 25   ///
 26   ///
 27   ///
 28   ///
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  1         III.   KEY EVIDENTIARY ISSUES
  2         Lief has filed three motions in limine. They are summarized as follows.
  3                a.    Lief seeks to exclude all Viva evidence related to claims of
  4                      adulteration and regulatory matters.
  5         Lief has moved to exclude any and all evidence of or argument, assertion, or
  6   reference to adulteration under the Food, Drug, and Cosmetic Act and any FDA
  7   regulatory violations by Lief in performing any work for Viva. (Dkt. No. 56). This
  8   dispute is about dietary supplements and chicken collagen products to be used in
  9   supplements. Viva claims that the products Lief manufactured for Viva and Viva’s
 10   raw ingredients stored at Lief’s warehouse were adulterated, not made in accordance
 11   with regulations (such as current Good Manufacturing Practices), or otherwise made
 12   in contravention of the Food, Drug, and Cosmetic Act.
 13         However, the Court should exclude evidence supporting or related to these
 14   issues for at least two reasons. First, violations of the Food, Drug, and Cosmetic Act
 15   are enforced by the FDA, which has exclusive jurisdiction of the alleged violations.
 16   There is no private right of action to the alleged violations. Second, Viva has not
 17   identified any experts (and actually agreed not to rely on any expert testimony) that
 18   could testify to the facts necessary to substantiate these allegations. Viva cannot
 19   offer any reliable testimony about regulatory issues or Lief’s alleged violations of any
 20   regulations. For at least these reasons, and those set forth in Lief’s motion in limine,
 21   the Court should exclude any evidence or argument related to any of Viva’s FDA or
 22   other regulatory assertions.
 23                b.    Lief seeks to preclude Viva from offering any evidence of a
 24                      final product specification.
 25         Lief has asked this Court to preclude Viva from arguing, citing, providing,
 26   identifying, or referencing a specification for the product at trial. (Dkt. No. 57.)
 27   Viva’s trial exhibit list does not contain any specification for the relevant product at
 28   issue. Viva has never identified any product specification for which Lief was to
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  1   adhere to, and which would be necessary to form the basis of the breach claim Viva
  2   asserts. It would be unfairly prejudicial for Viva to simply claim it provided a
  3   specification to Lief and compare the purported requirements of a specification and
  4   the contract manufacturing services Lief provided to Viva. For at least this reason,
  5   and those set forth more fully in Lief’s motion in limine, Lief moves to preclude Viva
  6   from introducing evidence of a product specification. Id.
  7                 c.    Lief seeks admission of evidence that is contrary to the
  8                       requests for admission submitted with Viva’s motion for
  9                       summary judgment.
 10           Lief moved for a motion in limine (Dkt. No. 58) to admit any evidence of or
 11   argument, assertion or reference contrary or related to the Requests for Admission
 12   submitted with Viva’s Motion for Summary Judgment (Dkt. No. 41-3 at 15-16,
 13   “RFAs”). The Court should allow argument and admit evidence presented by Lief at
 14   trial that is contrary or otherwise related to the RFAs and preclude Viva from moving
 15   to strike or preclude Lief’s presentation of such evidence.
 16           The Court should allow Lief to present evidence related to the RFAs, which
 17   may contradict those RFAs because the presentation of this evidence is imperative to
 18   determining the merits of the dispute. Here, the RFAs leave significant gaps in the
 19   factual bases of Viva’s alleged claims. Permitting Viva to restrict the evidence and
 20   testimony in this case would severely limit the presentation of the merits of this
 21   dispute, particularly given that the RFAs are internally inconsistent, contradicted by
 22   the plain evidence of the trial exhibits identified by Viva that it intends to use at trial,
 23   the allegations contained in its First Amended Complaint (Dkt. No. 9), and Lief’s
 24   Answer to First Amended Complaint and Counterclaim (Dkt. No. 23, e.g., ⁋ 5). For
 25   these reasons, and those set forth more fully in Lief’s motion in limine, the Court
 26   should allow Lief to present evidence contrary or related to Viva’s RFAs. (Dkt. No.
 27   58.)
 28   ///
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  1         IV.    BENCH TRIAL
  2         The parties have both demanded a jury trial and have not agreed to jointly
  3   rescind that demand. To the extent that Viva seeks to ask the Court to submit the
  4   case to a bench trial, Lief retains all rights for a jury trial and does not waive any
  5   related objections.
  6                                   Respectfully submitted,
  7   Dated: July 19, 2021            /s/ Kevin M. Bell
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  1                             CERTIFICATE OF SERVICE
  2               I hereby certify that the foregoing Contentions of Law and Fact were
  3   served on counsel of record on July 19, 2021.
  4                                               /s/ Kevin M. Bell
  5                                               Kevin M. Bell (admitted pro hac vice)
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